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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF VERMONT


JANET JENKINS, et al.,

                               Plaintiffs,

               v.                                               No. 2:12-cv-184-WKS

KENNETH L. MILLER, et al.,

                               Defendants.


                    PLAINTIFF JANET JENKINS’S
  MOTION FOR PARTIAL SUMMARY JUDGMENT ON COUNT ONE AGAINST
DEFENDANTS PHILIP ZODHIATES, KENNETH MILLER, AND TIMOTHY MILLER

       Pursuant to Rule 56(a) of the Federal Rules of Civil Procedure, Plaintiff Janet Jenkins,

through undersigned counsel, moves for partial summary judgment on Count 1 of the Revised

Second Amended Complaint, ECF 223, against Defendants Philip Zodhiates, Kenneth Miller,

and Timothy Miller for the reasons set forth in the accompanying memorandum in support.

       In summary, Zodhiates’s convictions for international parental kidnapping, conspiracy to

commit international parental kidnapping, and aiding and abetting parental kidnapping in

violation of 18 U.S.C. §§ 2, 371, and 1204, and Timothy Miller’s conviction for conspiracy to

commit international parental kidnapping in violation of 18 U.S.C. § 371, preclude them from

relitigating all issues presented by Count 1, which claims that they are liable to Jenkins for the

tort of intentional interference with parental rights under theories of civil conspiracy and civil

aiding and abetting. Therefore, there is no genuine dispute as to any material fact and Plaintiff is

entitled to judgment as a matter of law. See Fed. R. Civ. P. 56(a).

       In the alternative, Plaintiff moves for partial summary judgment on all elements of

Count 1 that Zodhiates and Timothy Miller are precluded from relitigating because of their

criminal convictions. See id. (“A party may move for summary judgment, identifying each claim


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or defense—or the part of each claim or defense—on which summary judgment is sought.”

(emphasis added)).

       Kenneth Miller’s conviction for aiding and abetting international parental kidnapping in

violation of 18 U.S.C. §§ 2 and 1204 precludes him from relitigating the first two elements of

Count 1, which claims that he is liable to Jenkins for the tort of intentional interference with

parental rights under theories of civil conspiracy and civil aiding and abetting. Therefore, there is

no genuine dispute as to any material fact and Plaintiff is entitled to judgment as a matter of law

on the first two elements. See id.


                                          CONCLUSION

       Plaintiff’s motion for partial summary judgment should be granted.


December 13, 2019                                 Respectfully submitted.

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                               CERTIFICATE OF SERVICE

       I hereby certify that, on this date, the foregoing document was served on the following

counsel of record through the Court’s CM/ECF system:

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